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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, ex rel.
MICHAEL S. LORD,                                   Civil Action No. 3:13-CV-2940

                        Plaintiffs/Relator,        (JUDGE MANNION)

           vs.                                     ELECTRONICALLY FILED

NAPA MANAGEMENT SERVICES
CORPORATION, NORTH AMERICAN
PARTNERS IN ANESTHESIA
(PENNSYLVANIA), LLC, and
POCONO MEDICAL CENTER,

                        Defendants.

    REPLY OF DEFENDANTS NAPA MANAGEMENT SERVICES
     CORPORATION AND NORTH AMERICAN PARTNERS IN
  ANESTHESIA (PENNSYLVANIA), LLC TO PLAINTIFF’S OMNIBUS
 MEMORANDUM OF LAW IN OPPOSITION TO MOTIONS TO DISMISS

           Defendants NAPA Management Services Corporation and North American

Partners in Anesthesia (Pennsylvania), LLC (collectively, “NAPA”) submit this

Reply in response to plaintiff Michael Lord’s (“Lord”) Omnibus Memorandum of

Law in Opposition to Motions to Dismiss (“Opp.”) (Dkt. 69).

I.         LORD DOES NOT OPPOSE NAPA’S MOTION TO DISMISS
           COUNTS IV-VI

           NAPA has moved to dismiss Counts IV-VI, which assert statutory claims

under the Pennsylvania Whistleblower Law (Count IV) and Pennsylvania Wage

Payment and Collection Law (Count V) and a common law claim for wrongful


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termination (Count VI). (Dkt. 59). Lord does not oppose, or even address,

NAPA’s arguments for dismissing these claims in his Opposition. Thus, because

NAPA’s arguments are unopposed, the Court should dismiss Counts IV-VI. See

Local Rule 7.6. See also Cruise v. Marino, 404 F. Supp.2d 656, 668 (M.D. Pa.

2005) (Mannion, J.) (summary judgment granted on claims plaintiff failed to

address in her opposing brief); Sikkelee v. Precision Airmotive Corp., No. 07-cv-

886, 2011 WL 1344635, *4 (M.D. Pa. Apr. 8, 2011) (motion to dismiss certain

claims deemed unopposed, and motion granted, where plaintiff failed to respond to

defendants’ arguments regarding those claims) (attached as Exhibit 1).

II.        COUNTS I-II FAIL TO SATISFY RULES 12(b)(6) AND 9(b)

           A.      Lord Does Not Oppose the Dismissal of Counts I-II to the Extent
                   Predicated on the Examination and Informed Consent Allegations

           Counts I-II are predicated on what NAPA has labeled the (1) Immediate

Availability Allegations, (2) Attestation Allegations, (3) Examination Allegations,

and (4) Informed Consent Allegations. See NAPA’s Memorandum of Law in

Support of Motion to Dismiss (“NAPA Mem.”) (Dkt. 59) at 7-18. Lord does not

address NAPA’s arguments for dismissing Counts I-II as they relate to the

Examination and Informed Consent Allegations.1 Since Lord has failed to oppose


1
 Lord’s only response to NAPA’s arguments regarding the Examination
Allegations is the non-substantive observation that his Complaint “alleges that
NAPA anesthesiologists routinely falsified physical examinations.” Opp. at 17.

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NAPA’s arguments in any substantive way, the Court should dismiss Counts I-II to

the extent predicated on the Examination and Informed Consent Allegations. See

Cruise, 404 F. Supp.2d at 668; Sikkelee, 2011 WL 1344635 at *4.

           B.      The Immediate Availability Allegations Do Not Describe a Seven
                   Steps Violation or Otherwise State a False Claim

           Lord acknowledges that the “immediate availability” requirement of the

Seven Steps regulation may be met by:

           (a) a second anesthesiologist assuming temporary medical direction
           responsibility for the anesthesiologist providing temporary relief [to
           the CRNA]; (b) the relieved CRNA remaining in the immediate area
           so he can return immediately to the procedure; or (c) a specified
           anesthesiologist remaining available to provide substitute medical
           direction services for the anesthesiologist providing temporary relief.

Complaint (“Comp.”) at ¶ 225. Despite this acknowledgement, Lord fails to allege

any facts to show that these three alternatives were not met in the examples

provided in his Complaint. Instead, Lord predicates his claims on the conclusory

statement, asserted in each example, that the physicians who allegedly provided

break relief “did not arrange adequate medical direction coverage in [their]

absence.” Id. at ¶¶ 75-81, 84-87, 89-90. This naked assertion is insufficient to

establish a false claim or otherwise state plausible grounds for relief. See Ashcroft

v. Iqbal, 556 U.S. 662, 678, 681 (2009) (conclusory statements are not entitled to

the presumption of truth); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555




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(2007) (A plaintiff’s factual allegations “must be enough to raise a right to relief

above a speculative level”).2

           Lord contends that NAPA’s arguments regarding the Immediate Availability

Allegations introduce disputed factual issues that should not be resolved on a

motion to dismiss. Opp. at 11. In reality, NAPA’s arguments are based entirely on

allegations included in Lord’s Complaint. The Complaint makes clear that NAPA

is a group practice in which multiple physicians are on site in the operating suite at

any given time. Comp. at ¶¶ 75-90, 126-27, 155-56, 163-64. It also identifies

numerous instances in which NAPA physicians and CRNAs communicated by

phone across operating rooms to obtain assistance. Id. at ¶¶ 79, 81-85, 88. Finally,

the Complaint recognizes that the Seven Steps regulation can be met if another

NAPA physician assumes temporary medical direction responsibility for a

physician providing break coverage, or if the relieved CRNA returns immediately


2
  In the only example discussed in his Opposition, Lord claims that he called Dr.
Marcus for assistance with extubation (the removal of the endotracheal tube used
to administer general anesthesia) in October 2012, but that Dr. Marcus said he was
providing a break for CRNA Shannon in another operating room. Comp. at ¶ 84.
As an initial matter, assisting with extubation is not a required element of the
Seven Steps regulation. See 42 C.F.R. § 415.110(a)(1). Moreover, instead of
identifying facts to show that immediate availability could not be met through the
alternative means identified in the Complaint (see ¶ 225), such as facts showing
that no other anesthesiologists were available, Lord merely parrots the conclusion
that Dr. Marcus “did not arrange adequate medical direction coverage in his
absence.” Opp. at 11-12. Again, such bald assertions are not entitled to the
presumption of truth. See Iqbal, 556 U.S. at 679.

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to the procedure when asked to do so. Id. at ¶ 225. In short, NAPA’s arguments

do not raise any speculative contentions. Rather, it is Lord’s own pleading

deficiencies that prevent his claims from rising above a speculative level.

           In the absence of factual allegations showing that other NAPA physicians

were unavailable to provide temporary medical direction, or that the relieved

CRNAs were unable to return immediately to the procedures in which they were

involved, Lord’s Complaint can only raise the possibility of noncompliance with

the Seven Steps regulation, but cannot go the extra step of showing a plausible

claim for relief. See Iqbal, 556 U.S. at 678, 681 (“Where a complaint pleads facts

that are merely consistent with a defendant’s liability, it stops short of the line

between possibility and plausibility of entitlement to relief”); Twombly, 550 U.S. at

557-78 (something beyond the “mere possibility of loss causation must be

alleged”); Foglia v. Renal Ventures Mgmt., LLC, 754 F.3d 153,157-58 (3d Cir.

2014) (“Describing a mere opportunity for fraud will not suffice. Sufficient facts

to establish a plausible ground for relief must be alleged”).

           Lord observes that defendant Pocono Medical Center (“PMC”), the facility

where he worked for NAPA, is “a large hospital complex” and contends that

“[e]ven if there are anesthesiologists somewhere in the hospital available to

respond to an emergency, NAPA could never satisfy the [Seven Steps regulation]

. . . without specifically assigning a medical directing anesthesiologist to be


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immediately available at all times.” Opp. at 12 (emphasis in original). This is a

disingenuous argument that ignores the many factual allegations in the Complaint

which demonstrate that NAPA’s physicians worked in close proximity to one

another in the PMC operating suite, and that NAPA’s doctors and CRNAs

communicated with one another by phone across operating rooms to request

assistance with procedures. See Comp. at ¶¶ 75-90, 126-27, 155-56, 163-64.

           Lord next takes issue with NAPA’s reliance on U.S. ex rel. Donegan v.

Anesthesia Assocs. of Kansas City, PC, 833 F.3d 874, 878 (8th Cir. 2016), which

found that the term “emergence” in the Seven Steps regulation is ambiguous and

can reasonably be read to include a patient’s recovery in the PACU. Opp. at 14.

NAPA relied on Donegan in arguing that Lord’s allegations failed to exclude the

possibility that the physicians in his examples participated in emergence in the

PACU or were present for emergence in the operating room outside the time

periods Lord identified in his examples. NAPA Mem. at 12.

           Lord seeks to distinguish Donegan by noting that the Seven Steps regulation

requires both that the anesthesiologist “[r]emain physically present and available

for immediate diagnosis and treatment of emergencies,” and “[p]ersonally

participate[] in the most demanding aspects of the anesthesia plan, including, if

applicable, induction and emergence.” Opp. at 14. Lord argues that even if

emergence includes a patient’s recovery in the PACU, NAPA still could not have


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billed for medical direction when the physician was not immediately available

during the patient’s anesthesia or failed to meet any of the other Seven Steps, “such

as failing to participate in the most demanding aspects of the anesthesia plan –

including extubation when a patient’s airway is at greatest risk.” Opp. at 14.

           This argument fails for a number of reasons. First, extubation is not a

procedure that a physician must perform to satisfy the Seven Steps regulation, nor

does the regulation state (as Lord misleadingly suggests) that extubation is among

the “most demanding aspects of the anesthesia plan” requiring anesthesiologist

participation. See 42 C.F.R. § 415.110(a)(1). Second, while Lord is correct that

the Seven Steps regulation requires the doctor to “[r]emain physically present and

available for immediate diagnosis and treatment of emergencies,” the Complaint

does not allege that any of Lord’s examples presented emergencies requiring the

physicians’ immediate attention. Finally, as discussed at length, Lord has failed to

allege sufficient facts to show that NAPA did not satisfy the immediate availability

requirement when physicians provided break coverage.

           C.      The Attestation Allegations Do Not Describe a Seven Steps
                   Violation or Otherwise State a False Claim

           Lord alleges that NAPA physicians pre-signed attestations in patient medical

records that stated, “I was present for induction, key portions of the procedure and

emergence; and immediately available throughout.” Comp. at ¶ 91. He argues in

his Opposition that these allegedly pre-signed attestations “were false when
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signed” and remained so even if the physicians proceeded to perform all of the

services attested to in the records. Opp. at 15-16. Not surprisingly, Lord fails to

cite any authority to support this position.

           A claim or statement is “false” when it is “objectively untrue.” U.S. ex rel.

Thomas v. Siemens AG, 593 Fed. Appx. 139, 143 (3d Cir. 2014). There is nothing

objectively false, however, about a claim based on a pre-signed attestation where

the signing physician ultimately performed all of the attested-to procedures.

Moreover, while the Seven Steps regulation requires physicians to document

certain information in a patient’s medical record, 42 C.F.R. § 415.110(b), it does

not address how that documentation is to occur or in what format. Lord fails to

show why pre-signing an attestation in a patient’s medical record is somehow

fraudulent, or even non-compliant with the Seven Steps, if the physician

subsequently performs each of the attested-to services. Absent a false claim, Lord

cannot state a viable FCA violation. See 31 U.S.C. §§ 3729(a)(1) & (a)(2); U.S. ex

rel. Hefner v. Hackensack Univ. Med. Ctr., 495 F.3d 103, 109 (3d Cir. 2007).

           The Complaint provides 25 examples of allegedly pre-signed attestations,

but 22 of them fail to allege (a) that the patient was a Medicare patient, (b) that

NAPA submitted claims for Medicare reimbursement, or (c) that any of the claims

submitted were for medically directed services. Comp. at ¶¶ 98-118, 120-22.

Many of these examples also fail to identify the patients. Id. These examples do


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not support a “strong inference” that false claims – or even any claims – were

submitted to Medicare for medically directed services. See Foglia, 754 F.3d at

157-58. As for the three Medicare examples that Lord identifies, three instances of

allegedly pre-signed attestations over the two-year course of Lord’s employment

hardly constitute a fraudulent billing scheme (nor are they “material,” as discussed

in Section II.D below).

           NAPA does not contend, as Lord suggests (see Opp. at 17), that a relator

must allege every instance of fraudulent conduct to adequately state a claim. To

satisfy Rule 9(b), however, a relator must allege the particular details of a scheme

to submit false claims – including the who, what, when, where and how of the

events at issue – paired with “reliable indicia” that lead to a “strong inference” that

false claims were submitted to the government. See Foglia, 754 F.3d at 157-58; In

re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1422 (3d Cir.1997). In the

absence of sufficient facts showing that the purportedly pre-signed attestations

related to medically directed services for Medicare patients, Lord has not

adequately alleged the particular details of a fraudulent billing scheme, nor has he

provided reliable indicia that would lead to a strong inference that false claims

were submitted for Medicare reimbursement.

           Lord contends that his allegations are enough to satisfy Rule 9(b) because

the attestations were “meant specifically for Medicare reimbursement for medical


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direction services.” Opp. at 16. This argument, however, fails to recognize that

the attestations are part of a form completed for all patients treated by NAPA

clinicians, not just Medicare beneficiaries. The Complaint states that the

attestation is part of an “Anesthesia Record” used by NAPA physicians and

CRNAs for “[e]ach patient” to record information about the services provided.

Comp. at ¶¶ 62-63. The Complaint also alleges that the purportedly pre-signed

attestations “involved all patients, without regard to payer type.” Id. at ¶ 93

(emphasis added). Clearly, the mere fact that a NAPA physician signs an

attestation does not mean that the record necessarily relates to a Medicare patient.3

           D.      NAPA’s Alleged Seven Steps Violations Are Not Material

           To be actionable, a false claim must be material to the government’s

decision to pay the claim. See Universal Health Servs., Inc. v. U.S. ex rel.

Escobar, 136 S. Ct. 1989, 2002 (2016). The FCA defines “material” as “having a

natural tendency to influence, or be capable of influencing, the payment or receipt


3
  Lord claims that each NAPA anesthesia record includes a sticker identifying
Medicare patients, and alleges that copies of these records were attached to his
disclosure statement. Opp. at 17. The FCA requires the relator to serve the
government with a copy of his complaint and “written disclosure of substantially
all material evidence and information the person possesses.” 31 U.S.C. §
3730(b)(2). Lord alleges in his Complaint that he complied with this requirement
and served the government with a disclosure statement. Comp. at ¶ 18. However,
Lord’s disclosure statement was not filed with the Court or provided to NAPA.
Lord therefore cannot rely on information purportedly included in his disclosure
statement in opposing NAPA’s motion to dismiss.

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of money or property.” 31 U.S.C. § 3729(b)(4). “[T]he fundamental inquiry is

‘whether a piece of information is sufficiently important to influence the behavior

of [the government].’” U.S. ex rel. Escobar v. Universal Health Servs., Inc., 842

F.3d 103, 110 (1st Cir. 2016). The materiality standard is “demanding” because

the FCA is not meant to punish “garden-variety” regulatory violations. See

Escobar, 136 S. Ct. at 2003. Materiality must also be pled with particularity. Id.

at 2004 n. 6.

           Lord claims he has adequately pled materiality by alleging (a) that NAPA

improperly charged Medicare for medical direction when it should have received

payment for medical supervision only, and (b) that NAPA’s Vice President of

Human Resources stated in a letter to Lord that NAPA was committed to the Seven

Steps regulation (a statement merely affirming NAPA’s embrace of compliance) .

Opp. at 18-19. These allegations do not come close to meeting the “demanding”

materiality standard, nor do they satisfy Lord’s obligation to plead materiality with

particularity. See Escobar, 136 S. Ct. at 2003, 2004 n. 6.

           Escobar involved a legally false claim under the implied false certification

theory. Thus, in order to argue that Escobar’s materiality analysis does not apply,

Lord depicts this action as one involving factually false claims. Opp. at 21.

Although Lord fails to state a viable FCA case under any theory, his Complaint is




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best characterized as a legally false matter under the implied certification theory.4

This theory of liability generally attaches where, as in this action, the defendant is

alleged to have submitted a claim for payment from the government without

disclosing that it failed to comply with regulations affecting its eligibility for

payment. See Wilkins, 659 F.3d at 305. A factually false claim, in contrast,

typically involves a claim that is false on its face, such as one seeking payment for

services that were never provided. See U.S. ex rel. Schimelpfenig v. Dr. Reddy’s

Laboratories, Ltd., No. 11-4607, 2017 WL 1133956, *3 (E.D. Pa. Mar. 27, 2017)

(attached as Exhibit 2). See also Wilkins, 659 F.3d at 305 (holding that the court

did not need to consider factual falsity, “as appellants do not contend that appellees

did not deliver the services for which they sought payment”).

           In any event, regardless of whether this action is construed to involve

factually false or legally false claims, materiality is a necessary element that is

conspicuously absent from Lord’s Complaint. See U.S. ex rel. Hill v. Univ. of

4
  Claims may be “factually false” or “legally false.” See U.S. ex rel. Wilkins v.
United Health Group, Inc., 659 F.3d 295, 305 (3d Cir. 2011). “A claim is factually
false when the claimant misrepresents what goods or services that it provided to
the Government.” Id. Alternatively, a claim is legally false when the claimant
“falsely certifies that it has complied with a statute or regulation the compliance
with which is a condition for Government payment.” Id. A legally false claim is
based on a “false certification” theory of liability. Id. Courts generally recognize
two types of false certifications, express and implied. Id. Under the more
expansive “implied false certification” theory, liability attaches when a claimant
“makes a claim for payment from the Government without disclosing that it
violated regulations that affected its eligibility for payment.” Id.

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Med. & Dentistry, 448 Fed. Appx. 314, 317 n. 4 (3d Cir. 2011) (“Congress has . . .

explicitly imposed a materiality element on claims”); U.S. ex rel. Forcier v.

Computer Scis. Corp., 183 F. Supp.3d 510, 523 (S.D. N.Y. 2016) (“Whether

asserted on a theory of factual falsity or legal falsity, a false claim ‘must have

influenced the government’s decision to pay’”).

           Finally, Lord argues that the Court should not consider the 2013 guidance

issued by a Medicare Administrative Contractor (“MAC”) that was attached as an

exhibit to the Declaration of David M. Vaughn submitted with NAPA’s

Memorandum in Support of Its Motion to Dismiss (see NAPA Mem. at Exhibit 1).

Opp. at 19. On a motion to dismiss, however, the Court may consider matters

outside the pleadings if they are a proper subject for judicial notice, such as

Medicare guidance issued by local MACs. See U.S. ex rel. Modglin v. DJO Global

Inc., 114 F. Supp.3d 993, 1002 n. 36 (C.D. Cal. 2015); Adams v. Luzerne County,

36 F. Supp.3d 511, 516 (M.D. Pa. 2014).

           E.      Counts I-II Should Be Dismissed for Claims Before June 2011
                   And After June 2013

           Lord worked for NAPA from June 2011 to June 2013, and filed his

Complaint on December 6, 2013. See Comp. at 1 and ¶ 6. Although Lord alleges,

on information and belief, that NAPA’s purported conduct dates back to 2007, id.

at ¶¶ 221, 234, this allegation is clearly based on the FCA’s six-year statute of

limitations, not on facts known to Lord. Indeed, the Complaint does not include a
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single factual allegation regarding NAPA’s pre-June 2011 conduct. The

Complaint also fails to allege any facts showing that NAPA’s alleged conduct

continued after Lord left the organization in June 2013.

           Since Lord has failed to identify any facts that would lead to a “strong

inference” that NAPA submitted false claims before June 2011 or after June 2013,

the Court should dismiss Counts I-II as to claims outside those dates. See Foglia,

754 F.3d at 157-58; U.S. ex rel. Mastej v. Health Mgmt. Assocs., Inc., 591 Fed.

Appx. 693, 709 (11th Cir. 2014) (FCA claims dismissed for time period after

employment ended; “indicia of reliability” disappeared when plaintiff left

defendants’ employment and was no longer privy to information such as

defendants’ business practices, Medicare patients, and billing of services to

Medicare).5


5
  In arguing against limiting his claims to the dates of his employment, Lord cites a
single allegation in his Complaint asserting that his internal reports of allegedly
improper conduct “did not change [NAPA’s] policies and practices.” Opp. at 22;
Comp. at ¶ 190. This allegation does not justify allowing Lord to pursue claims for
dates beyond his employment. Indeed, Lord’s argument is in stark contrast to U.S.
ex rel. Galmines v. Novartis Pharm. Corp., 88 F. Supp.3d 447, 457-58 (E.D. Pa.
2015), a case he cites for support, in which the court allowed the relator to amend
his complaint to add new allegations involving false claims that occurred after he
left his employment with the defendant. In Galmines, the court found that the
relator had sufficiently alleged that an off-label marketing scheme had continued
beyond his period of employment by pleading specific facts that illustrated through
examples the continued nature of the defendant’s off-label campaign. Id. at 458.
Lord, in contrast, has failed to identify any facts showing that NAPA’s purportedly
improper conduct continued after he left the organization.

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                                     CONCLUSION

           For the foregoing reasons, the Court should dismiss Counts I-II and IV-VI

with prejudice.



Dated: May 17, 2017

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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF PENNSYLVANIA

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MICHAEL S. LORD,                                        Civil Action No. 3:13-CV-2940

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           vs.                                          ELECTRONICALLY FILED

NAPA MANAGEMENT SERVICES
CORPORATION, NORTH AMERICAN
PARTNERS IN ANESTHESIA
(PENNSYLVANIA), LLC, and
POCONO MEDICAL CENTER,

                        Defendants.

                              CERTIFICATE OF SERVICE

           BRIAN K. FRENCH, ESQUIRE, hereby certifies that, on the 17th day of

May, 2017, he caused to be served a true and correct copy of the foregoing Reply,

by ECF, to all counsel of record.

                                                    NIXON PEABODY LLP



                                              By:   /S/ Brian K. French, Esquire
                                                    Brian K. French, Esquire




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